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Attorneys for Defendant ACU Plasmold, Inc., TRIAL COUNSEL

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

VISION INDUSTRIES GROUP, INC.,
Plaintiff,
-- against --
ACU PLASMOLD, INC., ABC
COMPANIES 1-10 and XYZ
CORPORATIONS 1-10,

Defendants

Case No. 2:18-cv-6296 (ES) (CLW)

DECLARATION OF EDWARD WwW.
MILLER IN SUPPORT OF DEFENDANT
ACU PLASMOLD, INC., MOTION TO
STRIKE EXPERT DECLARATIONS OF
MARK LANTERMAN, EXCLUDE
LANTERMAN’S TESTIMONY, VACATE
MAGISTRATE JUDGE CATHY
WALDOR ORDER FOR SANCTIONS
(Doc 266), AND TO DISMISS WITH
PREJUDICE THE REMAINING ISSUES
ON PLAINTIFF’S MOTIONS FOR
SANCTIONS (Doc 104; 124; 224).

|, Edward W. Miller, an attorney duly admitted to practice in the State of New York

and pro hac vice in the District Court for the District of New Jersey, declare under penalty

of perjury and pursuant to 28 U.S.C.§ 1746 that the following is true and correct:

1. On March 12, 2025, Defendant informed the Court via letter (Doc No. 295) that Mr.

Mark Lanterman had provided false testimony, including claims of having graduated

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from Harvard University, which were later proven to be untrue.

2. On March 20, 2025, Mr. Lanterman submitted a rebuttal to the Court (Doc No.
301), which marked his final attempt to address the allegations against him before
withdrawing from public view.

3a Plaintiff heavily relied on Mr. Lanterman’s testimony in their Motion for Sanctions,
citing him by name 36 times in their Memorandum and 13 times in their Reply Brief
(Doc No. 224-1). The Court also referenced Mr. Lanterman 17 times in its Opinion
(Doc No. 265).

4. The Court’s reliance on Mr. Lanterman’s unsworn emails, which contained hearsay,
formed the basis for its conclusion that Defendant’s counsel, Mr. Miller, had
participated in evidence spoliation. This conclusion was extended to implicate
Defendant's owner, Mr. Alvin Zhuo.

5. Evidence has emerged that Mr. Lanterman made false claims, including stating he
had completed postgraduate work at Harvard University, when records show he was
never admitted to the institution (Exhibit A, May 2, 2017 deposition of Mark
Lanterman in Lanterman v. Stillman, Fourth Judicial District Court, Minnesota).

6. Plaintiff's counsel has engaged in mischaracterizations and misrepresentations
throughout this case, including presenting a valuation document as a QuickBooks
annual sales report, which it was not (ExhibitB; Doc No. 147; Doc No. 224-1).

7. Defendant has provided evidence to refute this claim, demonstrating that the
document in question represented the total sales for the company’s 14-year
lifespan, not annual sales.

8. Plaintiff's counsel falsely attributed statements to Mr. Lanterman, including claims

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10.

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14.

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that he described the valuation document as a QuickBooks report, which were not
supported by Mr. Lanterman’s Declaration (Doc No. 156-1).

Defendant has consistently demonsirated that Plaintiff's claims regarding hidden
sales and withheld documents lack evidentiary support. A search of Quach’s
restored computer yielded no evidence of concealed sales or significant documents
that had not been produced.

Plaintiff's reliance on Mr. Lanterman’s testimony and unsworn emails has led to
significant misrepresentations in this case. Defendant has highlighted numerous
instances where Plaintiff's arguments were based on false or unsupported claims,
yet these arguments were often left unaddressed by Plaintiff in their replies. (Exhibit
C).

Plaintiff's introduction of the term “Quach financials” has created an inherent
assumption that such financials exist, despite the lack of evidence to support this
claim.

This term has been repeatedly referenced in Court Orders, further perpetuating the
assumption.

Plaintiff has also drawn negative inferences from Mr. Zhuo’s change of attorneys,
suggesting it was part of a scheme to conceal evidence. Defendant has provided
explanations for these changes, including Mr. Zhuo’s dissatisfaction with prior
counsel and his efforts to secure representation through referrals within his
community.

Plaintiff has made unsupported claims regarding financial transactions and other

matters, often relying on hearsay or mischaracterizations. Defendant has

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consistently refuted these claims with evidence and detailed arguments.

15. The Court's reliance on Mr. Lanterman’s unsworn emails and Plaintiff's
misrepresentations has resulted in conclusions that are not supported by the
evidence. Defendant has demonstrated that many of the claims made by Plaintiff
and Mr. Lanterman are false or misleading.

| declare under penalty of perjury that the foregoing is true and correct.

Dated: April 11, 2025 /s/Edward W. Miller
Edward W. Miller, Esq.
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Garden City, NY 11530
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Email: edmillerlaw@gmail.com
Attorneys for Defendant ACU Plasmold,
Inc., TRIAL COUNSEL

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EXHIBIT A
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05/19/21
Accrual Basis

EXHIBIT C

HIGHLY CONFIDENTIAL AEO

ACU HARDWARE USA, Inc (Vendor #57478)

Profit & Loss

All Transactions

vy

Ordinary Income/Expense
Income
deposit for questionng Intl pho
return borrowed fund
Sales
Shipping and Delivery Income

Total Income

Cost of Goods Sold
Cost of Goods Sold
Freight Costs

Total COGS
Gross Profit

Expense
AAMA lab test certificate
Advertising and Promotion
Auto and Truck Expenses
Bank Service Charges
Business Licenses and Permits
Call phone
Computer and Internet Expenses
Depreciation Expense
Gasoline
Insurance Expense

Interest Expense

Meals and Entestatnment
Mold charge

Office Cleaning Service
office key change

Office Suppties

Payroll Expenses
Professional Fees

Rent Expense

Repairs and Maintenance
Salary

Shipping

T-mobile

Taxes - Property
Telephone Expense
testing fee

Travel Expense
Wareshouse Mininum Charge

Total Expense
Net Ordinary Income

Other Income/Expense
Other tncome
Bank initiated credit
SERVICE

Total Other Income

Other Expense
Ask My Accountant
Credit
Scrap

Total Other Expense

Net Other Income

Net Income

Apr 20, 24

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20.00
2,814,636.19
21,300.60

2,836 ,132.79

2,068,906.19
163,863.49

2,232,769.68
603,363.11

12,088.41
7,232.90
2,114.66
9,316.77
5,895.71

233.40
4,244.35
616.27
35,978.90
583.13

704.56
9,455.41
26,223.00
151.78
140.00
41,229.88
236,709.73
15,192.88
83,057.88
6,155.46
212,771.28
67,513.17
6,329.65
7,820.44
11,292.28
57.85
7,252.07
447.63

810,809.42
-207,446.31

30.17
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EXHIBIT B
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EXHIBIT E
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The resolution of settlement agreement between John Quach and Xiao Lu Zhuo

Regarding: The agreement for John Quach’s buying out Xiao Lu Zhuo’s 70% of Acu Hardware USA

Inc’ Share.

Reason: Since Xiao Lu Zhuo and John Quach came together to found Acu plasmold USA Inc, Zhuo’s
with 70% share and Quach’s 30’ share, in 2007 ; and in 2016 to be incorporated in Nevada as the name
of Acu Hardware USA Inc with the same percentages of share, itis now for over 14 years in business
and Acu hardware USA Inc still can not find the profitable ways of business, both Xiao Lu Zhuo and John
Quach reach this agreement as the terms as followings for a settlement:

1)

2)

3)

Zhuo, Xiao Lu js willing to sell and John Quach is will to buy Xiao Lu Zhuo’s 70% share of Acu
Hardware USA inc at the price of USD:100.00, After the transaction, John Quach would own 100
Share of Acu Hardware USA Inc and would continue ta run the business.

Since the start of operation to Jan 1%, 2021, Acu Hardware USA Inc has

A) the Negative profit of USD:306, 145.00 with John’s sharing portion of jost of profit: USD:91,
843.00

B)On hand Inventory value: 256, 029,

C) Account Receivable balance: 5,257.00

{On book USD:61,257, Wire out total of USD:56,000.00(as of April 27", 2021)

D) New shipment from Jiangmen Qiangdi Plastic Hardware Co Ltd between Jan 1, 2021 to April
27, 2021: USD:45,253,20.

E} John Quach ‘s Over-drawn balance: USD:77,000.00 with John’s sharing portion:

USD:53,900.00.

F) Zhuo Xiao Lu’s personal Joan to ACU Hardware USA Inc in 2009: USD:8,000.00.

The above factors resulted in Acu Hardware USA Inc owing to the supplier Jiangmen Qiangdi
Plastic Hardware Co Ltd un-paid debt Tota!: USD:674,594.00. With this agreement, John and Acu
Hardware USA Inc would pay the balance to Jiangmen Qiangdi Plastic Hardware Co Ltd for his
portion: USD:460,282.00. And Zhuo Xiao Lu would resolve his portion of payment USD:214,312.00
to Jiangmen Qiangdi Plastic Hardware Co Ltd by himself.

After signing this settlement agreement, Jiangmen Qiangdi Plastic Hardware Co Ltd would offer
John Quach and or Acu Hardware USA Inc with credit limit of USD:250,000,00 to run Acu
Hardware USA Inc. And the out standing balance over the credit limit, which is USD:210,282.00,
John Quach and or Acu Hardware USA Inc commit to pay Jiangmen Qiangdi Plastic Hardware
Co Ltd or its owner Zhuo Xiao Lu within 4 years start from year 2021, which USD:52,570.00
minimum each year. , John Quach and or Acu Hardware USA Inc would try the best to payout
out standing balance to Jiangmen Qiangdi Plastic Hardware Co Ltd within 8 years starting from
2021.

Signature: John Quach Signature: Xiao Lu Zhuo
Date: 2021-5-18 Date: 2021-5-18
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EXHIBIT C
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EXHIBIT C

Factual Inaccuracies Relied Upon by Plaintiff and the Court
in the Plaintiff's Application for Sanctions

1a Plaintiff and the court relied upon hearsay in an a unsworn email from Lanterman
(“in a phone call between Nate, [Mr. Miller] and Mr. Quach’) for its conclusion that
Attorney Miller and Defendant’s owner Alvin Zhuo had participated in Quach’s
spoilation of evidence. [Doc No. 224-1, Plaintiff's Memorandum in Support of Motion
for Sanctions, at pgs. 15-16; Doc No. 265, Opinion, at 8 quoting from the unsworn
Landerman email ECF No. 166 at 1 (the Opinion left out the word “Nate” and
instead inserted “CFS”)].

25 Defendant responded with an affidavit from Alvin Zhou denying that he was involved
in Quach’s spoilation of evidence, affirming that he was “shocked when my lawyer
told me what Quach had done,” and that it would anyway (besides the immorality
of destroying evidence) be foolish to erase the C drive on a computer which is being
sent to a computer forensics expert specifically for the purpose of detecting
deletions and restoring deleted data (anyone can “run words”). [Doc No. 261-1,
Defendant’s Letter to the Court, at 2; and Doc No. 261-2, Affidavit of Alvin Zhuo, at
Paras. 2 and 6].

3: Out of 8,462 documents responsive to Plaintiff's search words’, Plaintiff relied upon
a single document showing $2,814,636.19 in sales as its only documentary

evidence supporting its claim that Defendant had not produced documents and was

‘ In all but a few cases of corrupted files, the computer was entirely restored at a
cost to Defendant of over $30,000. [Doc No. 1146-2, November 3, 2021 Report of Mark
Lanterman, at Paras. 11-13].

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concealing sales. [Doc No. 224-1, Plaintiff's Brief in Support of Motion for Sanctions,
at 13; Doc No. 147, Plaintiff's Letter Brief in Support of Motion for Sanctions, at 3].
4, Defendant responded with an Affidavit from Alvin Zhuo explaining that the
document was part of a valuation of the company totaling the gross sales of the
company for its entire 14 year life ($2,814,636.19)? drawn up in conjunction with a
sale of the company that was consummated one month after the date of the
valuation. [Doc No. 261-2, Affidavit of Alvin Zhuo, at Para. 5; Exibit A, Valuation of
ACU Hardware U.S.A.: “PROFIT AND LOSS — ALL TRANSACTIONS FOR ACU”
as of April 21, 2021; Exhibit B, May 18, 2021 Sale Agreement for ACU Hardware
U.S.A.].
5. Plaintiff represented that:
"The Lanterman Declaration explained that there were many QuickBooks
files on the Quach computer, one of the reports for ACU Hardware USA
showed millions of dollars in sales. This is significantly more than any of the
other reports."
Doc No. 224-1, Plaintiff's Memorandum in Support of Motion for Sanctions, at 13.
6. Lanterman’s Declaration does not contain these words or any words with a similar
meaning. [Doc No. 156-1, November 3, 2021 Declaration of Mark Lanterman].
73 Plaintiff represented that Lanterman had accused Defendant’s computer expert of
not having had access to the computer files Defendant's expert claimed to have

reviewed:

“Mr. Lanterman further explains that Mr. Popkin, ACU’s declarant, did not yet
have access to the Quach data from Lanterman at the time Popkin made his

? That comes out to roughly $200,000 per year in gross sales.

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declaration.”
Doc No. 229, Plaintiff's Reply Brief, at 5, f.n. 6.

8. Lanterman’s Memorandum does not contain these words or any words with a
similar meaning.’ [Doc No. 229-1, Lanterman Memorandum].

9. Plaintiff represented that the files downloaded onto USB/flash drive sticks contained
massive amounts of data. [Doc No. 229, Plaintiff's Reply Brief, at 5-6].

10. | Defendant responded with a report from its computer forensics expert Cole Popkin
showing that in fact the “files were between 100 to 500 kilobytes, about 2 to 3
pages” mostly copies.* [Doc No. 225-2, Popkin Report; Doc No. 224-1, at 13; and,
Doc No. 229, at 5-7].

11. Plaintiff, citing an affidavit of Mr. Zhuo, represented that Zhuo admitted that ACU
Hardware U.S.A. had 20 sales a day. [Doc No. 224-1, Plaintiff's Memorandum in
Support of Motion for Sanctions, at 4].

12. Defendant responded that the statement was made in an affidavit in opposition to
a Motion to Compel production of documents relating to sales of casement and
non-casement window parts from both ACU Hardware USA and ACU Plasmatics.
[Doc No. 46, Affidavit of Alvin Zhuo, Para. 5; Doc No. 41-4, Plaintiffs Proposed
Order for a Motion to Compel Discovery]. Plaintiffs misrepresented Mr. Zhuo’s

statement which was “20 sales a day” and “80,000 documents” including ACU

* Defendant's expert Cole Popkin accessed the files by painstaking very creative
process detailed in Defendants Sur-Reply, Doc No. 233, at 4-5.

* Plaintiff's title “Quach Loaded Thousands of Financial Reports onto USB Drives,”
is not correct. [Doc No.. 229, Plaintiff's Reply, at 5]. The vast majority of the files Plaintiff
is referring to were shipping records.

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Plasmatics and ACU Harware U.S.A., to mean 20 sales a day and 80,000
documents for ACU Hardware USA alone.

13. Plaintiff and the Court concluded, based on a not under oath Lanterman email, that
Attorney Miller repeatedly called CFS without the knowledge of Plaintiff, insisting on
engaging in ex-parte communications concerning substantive matters besides
billing, “compelled Mr. Lanterman to cease participating in this matter in December
2021.” [Doc No. 265, Opinion, at pgs. 7-8, citing Mr. Lantersman’s unsworn emails
Doc Nos. 153 and 166].°

14. | Defendant responded that the real reason for Mr. Lantersman’s withdrawal was
Defendant’s refusal to give in to his highly unusual and totally improper threat to
destroy evidence unless he was paid an outrageous sum for “storage fees;” the
calling was from Lanterman to Miller demanding money. [Doc No. 163 and 163-1,
Defendant's letter to the Court, and email to Mark Lanterman].

15. | The court ordered Defendant to pay Mr. Lanterman the money he was demanding.
[Doc Nos. 160 and 162, Orders].

16. Defendant responded by showing that Mr. Lanterman was over-billing. [Doc No.
163, Defendant's letter to the court].

17. Plaintiff and the court based their conclusion that, “Mr. Lanterman has displayed the

highest level of proficiency, professionalism, and integrity throughout the course this

° The section in Plaintiff's Brief in Support of Motion for Sanctions devoted to this
subject is titled: “ACU Can Not be Trusted.” [Doc No. 224-1, Plaintiffs Memorandum in
Support of Motion for Sanctions, at 19]. The court concludes its discusion of the subject
with: “Mr. Lanterman has stated ACU ‘mislead[s] the Court.’ ECF No. 166 at 2 (citing a not
under oath email from Mr. Lanterman).” [Doc No.265, Opinion, at pg 8]

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litigation, the opposite is true as regards ACU’s conduct with Mr. Lanterman,” on
unsworn emails from Mr. Lanterman. [Doc No. 265, Opinion, at 7 (in a section
entitled, “ACU’s Misconduct with and as Revealed by Mr. Lanterman”)].17.Plaintiff
and the Court drew a highly negative inference from Mr. Zhuo’s changing of
attorneys - that it was part of his scheme to avoid discovery:
“After hiring new counsel in November 2019,...ACU then
retained another attorney, ECF No. 83-84,...ACU’s pattern of
nonfeasance and retention of new counsel persisted,”
Doc No. 265, Opinion, at 6.
18. Defendant responded that after firing his first attorneys® Mr. Zhuo - who didn’t know
anyone from New York - hired a lawyer from an advertizement in a Chinese
newspaper who had absolutely no litigation experience. That lawyer referred the

case to a second Chinese lawyer who had only limited litigation experience (and no

federal court experience) so she hired a lawyer who had litigation experience to

* Plaintiff represented that Zhuo’s changing of attorneys was evidence Zhuo being
unhappy with their unwillingness to go along with his perjury.Doc No. 109, Reply
Memorandum in Support of Plaintiff's Motion for Sanctions Against Defendant for Failure
to Comply with Discovery Orders, at 5-6.

Defendant responded with an affidavit of Alvin Zhuo explaining why he fired his first
attorney. Plaintiff had accused Mr. Zhuo of owning a business with a name similar to
Zhou’s business name; the company is a major seller of casement window in America.
[Doc No. 41-2, Affidavit of Luke Luang, at 4, Para. 6]. Mr. Zhuo had nothing to do with that
business. [Doc No. 46, Affidavit of Alvin Zhuo in Opposition to Motion to Compel, at pgs.
3-4]. Mr. Zhuo lawyers told him they did not believe him. The Court also did not believe
Mr. Zhuo and issued an order to compel documents from that company. [Doc No. 53,
Order]. In the end Mr. Zhuo was proven to be right (Mr. Zhuo doesn’t even know any of
the owners) and Plaintiff conceded that Mr. Zhuo had no ownership in the company and
therefore - despite the order compelling him to prooduce - did not pursue those documents.
Mr. Zhuo fired his lawyers because they didn’t believe their own client. [Doc No. 110,
Proposed Sur-Reply, Exhibit A, first two pages maked 4 and 5; and, Doc No. 108-1,
Affidavit of Xiao Lu Zhuo, at Para. 11)).

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19.

20.

21.

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defend the Quach deposition (just for attending the deposition, not for any
preparation). [Doc No. 108-1, Affidavit of Xiao Lu Zhuo, at pgs. 3-4, Para. 11].
Quach did not receive any preparation for his deposition besides being given a date
and time and a link.

Plaintiff introduced the term “Quach Financials,” adopted by the court in its orders,
which carries within it the inherent assumption that there are thumb drives
containing tens of thousands of pages in sales reports that have not been produced
by Mr. Zhuo.

Defendant responded by demonstrating that Quach’s testimony was impossible
nonsense - starting with a company office in Los Vegas which did not exist,’ with
sales reports “too big” for an email attachment which hold 10,000 - 15,000 pages
of data, by producing all sorts of financial records showing that the company was
a small company grossing about $260,000 a year (according to Quach!), aone man
operation with no brick and mortar office or warehouse (they used storage facilities)
with Mr. Quach making deliveries. [Doc No. 108 and attachments]. What Quach
testified to is a reflection of a sick mind. Mr. Quach is, unfortunately, mentally
unstable. But he is a very good man, a man who has been down on his luck his
whole life because he is mentally unstable. Mr. Zhuo empathized with Mr. Quach
and that is the reason he gave Mr. Quach work.

Plaintiff drew negative inferences from Zhuo continuing as a partner with Quach and

” Defendant produced years of invoices for $5.99 a month for a virtual office with

a Los Vegas address, which the company maintained through a company called
“PhysicalAddress.com”. [Doc No. 108-6, pgs. 1-27].

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then, from Zhuo discontinuing the partnership:

Nor does Zhuo state that he has since addressed this issue
and fired Mr. Quach or recommended that he seek medical
treatment. And, obviously, Zhuo’s biased opinion concerning
Quach’s mental stability proves nothing about Mr. Quach and
everything about Zhuo’s willingness to attack his own
employee rather than produce financial information.

they are working together, as they have for more than 14
years, and as they continue to do today.

Doc No. 109, Reply Memorandum in Support of Plaintiff's Motion for Sanctions Against
Defendant for Failure to Comply with Discovery Orders, at 3; Doc No. 147, at 4].

ACU’s convoluted explanations for why Quach now owns ACU
and Zhou extends him enormous credit despite alleging he is
‘mentally unstable’ should be completely rejected.

Doc No. 229, Plaintiff's Reply to Defendant’s Opposition to Plaintiff Motion for Sanctions,
at 3.

22. Defendant responded that it wasn’t “extend[ing] him enormous credit” it was a
provision in the sales contract for Quach to repay his portion of the company’s
losses and debts that he couldn't possibly pay now since he has no money. [Doc
No. 233, Defendant’s Sur-Reply, at 3 f.n 3].

| declare under penalty of perjury that the foregoing is true and correct.

Dated: April 11, 2025 /s/Edward W. Miller
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